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                       IN THE UNITED ST ATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION


                                                  )
 CRISTHIAN ZUNIGA HERNANDEZ,
 LUIS ALFONSO P ALMILLAS LOPEZ,                   )
 and RAMON RODRIGUEZ MENDEZ,
                                                  )


                                                  )
      Plaintiffs,                                 )        Civil No. CV 523-023
                                                  )
 v.                                               )
                                                  )
 MARIA LETICIA PATRICIO,                          )
 ENRIQUE DUQUE TOVAR, JOSE
                                                  )
 CARMEN DUQUE TOVAR, and MBR
 FARMS, INC., a Georgia corporation,              )
                                                  )
      Defendants.                                 )



        DEFENDANT MBR FARMS, INC.'S MOTION TO DISMISS, AND IN THE
             ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT
        COMES NOW Defendant MBR Farms, Inc. ("MBR") and files this its Motion to Dismiss

pursuant to Rule 12(b)(6) and in the alternative, Motion for Summary Judgment pursuant to Rule

56, respectfully showing the Court as follows:

                                                 1.

        Plaintiffs filed the instant action on April 4, 2023, alleging Defendants forced and misled

Plaintiffs into farm labor in violation of the Trafficking Victims Protection Act ("TVPA"), the Fair

Labor Standards Act ("FLSA"), the Federal and State Racketeer Influenced Corrupt Organizations

Act, and Georgia state claims.
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                                                  2.

        Defendant MBR timely answered and denied all liability.

                                                  3.

        Defendant MBR's answer also provides Plaintiffs' Complaint should be dismissed for

failure to adequately plead elements specific to their purported claims for relief. [Doc. 16], First

Defense.

                                                  4.

        Plaintiffs had over a year to amend their Complaint. The time for any amendments expired

on June 12, 2024.

                                                  5.

        As provided in MBR's Memorandum of Law, Plaintiffs failed to sufficiently plead

elements essential to each of their claims; as such, this Court should dismiss the same.

                                                  6.

        In the alternative, MBR moves this Court pursuant to Rule 56 for summary judgment as

there are no genuine issues of material fact entitling Plaintiffs to judgment against it.

                                                  7.

       In support of its Motion for Summary Judgment, MBR relies on the following:

       a.   Its contemporaneously filed Memorandum of Law;

       b.      All pleadings of record;

       c.      Its Statement of Undisputed Material Facts; and

       d.      The Affidavit of Enrique Duque Tovar.

WHEREFORE, MBR respectfully prays its Motion to Dismiss or in the alternative Motion for

Summary Judgment be granted and Plaintiffs' claims as to MBR be dismissed with prejudice.
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Respectfully submitted this 15th day of July, 2024.

                                                 COLEMAN TALLEY LLP


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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION


                                            )
 CRISTHIAN ZUNIGA HERNANDEZ,
 LUIS ALFONSO P ALMILLAS LOPEZ,
                                            )
 and RAMON RODRIGUEZ MENDEZ,
                                            )


                                            )
      Plaintiffs,                           )        Civil No. CV 523-023
                                            )
 v.                                         )
                                            )
 MARIA LETICIA PATRICIO,                    )
 ENRIQUE DUQUE TOVAR, JOSE
                                            )
 CARMEN DUQUE TOVAR, and MBR
 FARMS, INC., a Georgia corporation,        )
                                            )
      Defendants.                           )

                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I have this day served a copy of the foregoing DEFENDANT MBR
FARMS, INC. 'S MOTION TO DISMISS, AND IN THE ALTERNATIVE, MOTION FOR
SUMMARY JUDGMENT upon interested parties via e-mail and by placing a copy thereof in the
United States mail with sufficient postage thereon and addressed as follows:


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This 15th day of July, 2024.
                                             COLEMAN TALLEY LLP

                                             Isl Mark A. Gilbert
                                             Mark A. Gilbert
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    WAYCROSS DIVISION


                                                         )
CRISTHIAN ZUNIGA HERNANDEZ,
LUIS ALFONSO P ALMILLAS LOPEZ,                           )
and RAMON RODRIGUEZ MENDEZ,
                                                         )


                                                         )
          Plaintiffs,                                    )     Civil No. CV 523-023
                                                         )
v.                                                       )
                                                         )
MARIA LETICIA PATRICIO, ENRIQUE                          )
DUQUE TOVAR, JOSE CARMEN                                 )
DUQUE TOVAR, and MBR FARMS,
INC., a Georgia corporation,                             )
                                                         )
          Defendants.                                    )



 DEFENDANT MBR FARMS, INC.'S MEMORANDUM OF LAW IN SUPPORT OF ITS
  MOTION TO DISMISS, AND IN THE ALTERNATIVE, MOTION FOR SUMMARY
                             JUDGMENT
             COMES NOW Defendant MBR Farms, Inc. ("MBR") and files this Memorandum of

Law in Support of Defendant MBR Farms, Inc. 's Motion for Judgment on the Pleadings or

Alternatively Motion for Summary Judgment to dismiss Plaintiff's Complaint on all counts and,

in support thereof, respectfully shows this Honorable Court as follows:

     I.          INTRODUCTION

             Plaintiffs, foreign residents, brought the instant Complaint for alleged damages resulting

from purported conditions of their employment in the United States. Plaintiffs generally allege

they were mistreated while performing farm work. Plaintiffs' allegations mirror Indictment No.


                                                     1
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CR521 -0009 by the United States against twenty-four individuals. Complaint, Exhibit 1. [Doc.

1-2]. Notably, neither MBR nor any employee nor owner of MBR was named in this sweeping

indictment. Plaintiffs have drug MBR into this case, despite having no evidence of any

involvement by MBR in Plaintiffs' employment. This Court should dismiss Plaintiffs' claims

against MBR as it is a stranger to the allegations.

        Plaintiffs have failed to adequately set forth a single cognizable claim against MBR.

Instead, Plaintiffs' over fifty-page Complaint consists entirely of conclusory statements which

fail to meet the federal pleading standard. In fact, Plaintiffs' only allegations are against

Defendants other than MBR. Plaintiffs' only allegations as to MBR's role in this purported

"scheme" is that MBR knew the actions of other Defendants. Plaintiffs fail to allege how MBR

had any knowledge of the purported actions of other Defendants. Consequently, Plaintiffs' claims

as to MBR should be dismissed for failure to state a claim alone.

       At a minimum, Plaintiffs' purported claims against MBR must be dismissed under Rule

56 as there is no genuine dispute of any material fact regarding MBR's role in the actions. The

Record shows MBR: (1) Did not employ Plaintiffs; (2) Had no control over hiring and firing

Plaintiffs; (3) Had no control over Plaintiffs wages; ( 4) Had no control over Plaintiffs' hours; and

(5) Was not responsible for Plaintiffs' housing. Therefore, Plaintiffs claims against MBR cannot

stand under Rule 56.

 II.       SUMMARY OF ALLEGATIONS IN PLAINTIFFS' COMPLAINT

               Plaintiffs brought the instant Complaint against Defendants Maria Patricio

("Patricio"), Enrique Tover ("E. Tovar"), Jose Tovar ("J. Tovar"), and MBR Farms, Inc ("MBR")

generally alleging violations of the Trafficking Victims Protection Act ("TVPA"), the Fair Labor

Standards Act ("FLSA"), the Federal and Georgia RICO Acts, unjust enrichment, and intentional



                                                  2
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infliction of emotional distress. CLASS ACTION COMPLAINT ("Complaint") [Doc. 1 ], ]rI. Plaintiffs

fail to make adequate factual allegations to support any of its claims against MBR; instead, they

make general conclusory allegations which fail to meet the federal pleading standard set forth in

Iqbal and Twombly. See generally Ashcroft v. Igbal, 556 U.S. 662 (2009); Bell Atl. Corp. v.

Twombly, 550 U.S. 544 (2007). Notably, the time for Plaintiffs to amend their Complaint expired

on June 12, 2024. [Doc. 58].

   A. Definitions in Plaintiffs' Complaint

        Plaintiffs' Complaint attempts to broadly categorize Defendants to skirt the responsibility

of laying out the actions of each individual defendant. They use the term "Traffickers" to

encompass the named defendants, Patricio, E. Tovar, J. Tovar, and MBR. COMPLAINT [Doc. 1],

pg. 1. Plaintiffs then make allegations against "Traffickers" without any effort to assign specific

conduct or otherwise differentiate between the Defendants. They also break down four separate

alleged RICO Enterprises:

    •   RICO Enterprise I - Patricio, E. Tovar, J. Tovar, and MBR . COMPLAINT, !r32.

    •   RICO Enterprise II aka Patricio TCO- Patricio, E. Tovar, J. Tovar, Daniel Mendoza,

        Nery Rene Carrillo-Najarro, Antonio Chavez Ramos a/k/a Tony Chavez, JC Longoria

        Castro, Victoriano Chavez Hernandez, Charles Michael King, Stanley Neal McGauley,

        Luis Alberto Martinez a/k/a Chino Martinez, Delia Ibarra Rojas, Juana Ibarra Carrillo,

        Donna Michelle Rojas a/k/a Donna Lucio, Margarita Rojas Cardenas a/k/a Maggie

        Cardenas, Juan Francisco Alvarez Campos, Rosalva Garcia Martinez a/k/a Chava Garcia,

        Esther Ibarra Garcia, Rodolfo Martinez Maciel, Brett Donavan Bussey, Linda Jean

        Facundo, Gumara Canela, Daniel Merari Canela Diaz, and Carla Yvonne Salinas. The

        individuals named in RICO Enterprise II were indicted on federal charges. COMPLAINT,



                                                 3
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        Jrlr 33 - 35, Exh. 2. Notably, MBR is expressly excluded from the definition of RICO

        Enterprise II. Moreover, no individual associated with MBR was indicted.

    •   RICO Enterprise III - Patricio TCO and the Seminole Hard Rock Hotel. COMPLAINT, Jr

        36.

    •   RICO Enterprise IV - Patricio TCO and employees of the Georgia Department of Labor.

Despite claiming twenty-five individuals and entities were participants of these purported RICO

Enterprises, Plaintiffs only brings claims against four defendants. COMPLAINT, Jr 37.

        Plaintiffs claim the purported RICO Enterprises were part of a human trafficking scheme

to bring foreign nationals into the U.S. for labor exploitation. See generally, COMPLAINT, Jrlr 54-

65. When describing the "overall human trafficking scheme", Plaintiffs fail to make a single non-

conclusory allegation as to MBR; instead, all allegations are made as to "Contractors". Plaintiffs

define "Contractors" as Defendants Patricio, E. Duque, and J. Duque. MBR farms is excluded

from the definition of Contractors. COMPLAINT, Jr 54. Plaintiffs allege the Contractors did the

following:

    •   Demanded excessive and illegal fees to come to the U.S. on a H-2A visa;

    •   Falsely guaranteed Plaintiffs would be paid under the terms of a contract, with

        transportation, housing, and food provided;

    •   Caused Plaintiffs to pay for their own costs;

    •   Held their immigration and identification documents;

    •   Required Plaintiffs to perform work for little or no pay;

    •   Paid Plaintiffs in cash without paystubs;

    •   Forced Plaintiffs to live in substandard conditions and threatened deportation and

        violence;


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     •   Forced Plaintiffs to pay fees for the return of their documents;

     •   Obtained more than $200,000 million from the trafficking scheme. COMPLAINT, !r!r 54 -

         64.

         The only allegation Plaintiffs' make as to MBR and its involvement in the "trafficking

scheme" is a conclusory statement that it "conspired with the Contractors in this labor

exploitation scheme." COMPLAINT, Jr 65.

    B. Summary of Counts in Plaintiffs' Complaint
The following is a summary of each count alleged by Plaintiffs:

         Count I seeks economic damages, punitive damages, and attorneys' fees against all

Defendants under 18 U.S.C. § 1589 which, generally, requires a showing of participation in a

venture engaged in trafficking by means of physical or threatened force. Id. at Jrlr 194 - 201.

         Count II seeks economic damages, punitive damages, and attorneys' fees against all

Defendants under 18 U.S.C. § 1590 regarding recruiting, harboring, and trafficking with respect

to peonage, slavery, involuntary servitude, or forced labor. Id. at Jrlr 202 - 207.

         Count III seeks economic damages, punitive damages, and attorneys' fees against

Defendant Patricio and MBR under 18 U.S.C. § 1594 regarding conspiracy to commit violations

of sections in this Chapter. Id. at Jrlr 208 - 216.

         Count IV seeks economic damages, punitive damages, and attorneys' fees against all

Defendants under 18 U.S.C. § 1592 regarding unlawful conduct in furtherance of trafficking,

peonage, slavery, involuntary servitude, or forced labor. Id. at Jrlr 217 - 221.

         Count III (again) seeks economic damages, punitive damages, and attorneys' fees

against all Defendants under 18 U.S.C. § 1595(a) which creates civil remedies for violation of

other sections in this chapter. Id. at Jrlr 222 - 225 (referred to herein as Count III Part 2).




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         Count IVI [sic] seeks alleged unpaid wages, an additional amount as liquidated damages,

and attorneys' fees and costs against all Defendants under 29 U.S.C. § 201 et. seq. regarding Fair

Labor Standards. Id. at Jrlr 226 - 237.

         Count VI seeks economic damages, treble damages, and attorneys'/experts' fees and

costs against all Defendants under 18 U.S.C. § 1962 regarding deriving income from

racketeering activity. Id. at Jrlr 238 - 269.

         Count VII seeks economic damages, punitive damages, treble damages, attorneys' and

experts' fess, an order requiring the Defendants to "divest themselves of any interest in the RICO

Enterprises and real or personal property they acquired through the pattern of racketeering

activity," and an order prohibiting the Defendants "from engaging in the same type of endeavor

as they did through the RICO Enterprises, including operating a farm labor contracting business

and/or employing farmworkers" under O.C.G.A. § 16-14-1 et. seq. under Georgia's Racketeer

Influenced and Corrupt Organizations Act. Id. at Jrlr 270 - 292.

        Count IX (Complaint Skips VIII) seeks return of the alleged value of benefits conferred

to Defendants by Plaintiffs, economic damages, and punitive damages against all Defendants

under a theory of unjust enrichment. Id. at Jrlr 293 - 300.

        Count X seeks recovery of emotional and pain and suffering damages, as well as

punitive damages against all Defendants under a theory of intentional infliction of emotional

distress. Id. at lrlr 301 -306.

        Plaintiffs fail to sufficiently allege MBR is liable to them for any of the above counts.

III.         STATEMENT OF MATERIAL FACTS

        This case arises out of Plaintiffs' - foreign nationals - work in the United States. See

generally, COMPLAINT. Defendant E. Tovar, approached MBR to inquire if it would need any



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workers in the 2021 growing season. AFFIDAVIT OF ENRIQUE DUQUE TOVAR ("Affidavit"), Jr 3. E.

Tovar along with J. Tovar recruited Plaintiffs. Id. at Jr 4. MBR farms was not involved with the

Plaintiffs' recruitment. Id. MBR was not involved in filling out any documentation to bring

Plaintiffs or other H-2A workers to the United States. Id. at Jrlr 5, 7. MBR did not manage,

supervise, or direct Plaintiffs or other H-2A workers. Id. at Jr 10. It was Enrique Tovar's

responsibility, NOT MBR's to track the amount of each worker's labor and to pay each worker.

Id. at Jr 12. MBR had no control over the hiring, firing, or modifying the employment conditions

of the workers. Id. at Jrl 5. MBR had no control or involvement over the worker's payroll and

payment of wages. Id. at Jr 16. MBR was not made aware of the amount or amounts that

Plaintiffs or other H2A workers were paid for their work. Id. MBR had no control over Plaintiffs'

and other H-2A workers' living and housing conditions. Id. at Jrl 7. The only investments MBR

made into equipment for Plaintiffs and other H-2A workers were the purchase of buckets and

portable toilets. Id. at Jrl 8. MBR never provided E. Tovar with authority for him to act as their

agent. Id. at Jrl9. The Record shows MBR is truly a stranger to the allegations in the Complaint.

IV.         ARGUMENT AND CITATION OF AUTHORITY

         The Court should dismiss Plaintiffs' claims under Federal Rule of Civil Procedure

(F.R.C.P.) 12(b)(6) as Plaintiffs have failed to allege facts which would show they are entitled to

any relief against MBR. At minimum, this Court should dismiss Plaintiffs' claims against MBR

under F.R.C.P. 56 as the Record shows there is no genuine issue as to any material fact and MBR

is entitled to judgment as a matter of law.

      A. Standard of Review.

         i. Motion to Dismiss




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        F.R.C.P. 12(b)(6) allows dismissal of a complaint where it appears a plaintiff can prove

no set of facts in support of his claim which would entitle him to relief. Jenkins v. McKeithen,

395 U.S. 411, 422 (1969), rehearing denied, 396 U.S. 869 (1969). Pleadings are required to set

forth "a short plain statement of the claim showing that the pleader is entitled to relief].]"

F.R.C.P. 8(a)(2). A "complaint must contain sufficient factual matter, accepted as true, to 'state a

claim to relief that is plausible on its face."' Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). It is

insufficient to allege a "mere possibility that the defendant may have acted unlawfully." Moseley

v. Carnival Corp., 593 Fed. Appx. 890, 892 (11 th Cir. 2014). A plaintiff must provide "more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action will not

do." Bell Atl. Corp. V. Twombly, 550 U.S. 544, 555 (2007).

       "[T]o survive a motion to dismiss, a complaint must now contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face." American Dental

Ass'n v. Cigna Corp., 605 F.3d 1283, 1289 (11th Cir. 2010). A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. Courts should use a two-pronged analysis to

determine the veracity of pleadings. Iqbal, 556 U.S. at 679. Under the first prong, a court may

"begin by identifying pleadings that, because they are no more than conclusions, are not entitled

to the assumption of truth." Id. Next, the court should consider whether the factual allegations

remaining in the complaint are facially plausible. Id.

       A review of the instant Complaint shows Plaintiffs failed to adequately plead they are

entitled to any relief from MBR Farms.

       ii. Motion for Summary Judgment




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        Summary judgment is appropriate if the movant shows there is no genuine issue of

material fact. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251 (1986); F.R.C.P. Rule 56.

If the movant demonstrates there is no genuine issue of fact and carries its initial burden, it is up

to the non-movant to demonstrate evidence exists which would support a jury verdict. Anderson,

477 U.S. at 243. "An issue of fact is 'material' if it might affect the outcome of the case under the

governing law ... [i]t is 'genuine' if the record taken as a whole could lead a rational trier of fact

to find for the non-moving party." Baker v. Sears, Roebuck & Co., 903 F.2d 1515, 1518 (11th

Cir. 1990) ( citations omitted). Additionally, "the mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly supported motion for summary

judgment; the requirement is that there be no genuine issue of material fact." Anderson, 477 U.S.

at 247-248 (emphasis original). Summary judgment in favor of the moving party is proper when,

after time for adequate discovery, the party bearing the burden of proof at trial fails to make a

sufficient showing of the existence of an essential element of their case. Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). Summary judgment should be used to "isolate and dispose of factually

unsupported claims" -here, summary judgment is warranted on all of Plaintiffs' claims. Id. at

323-324.

     B. This Court Should Dismiss Plaintiffs' Claims Under the Trafficking Victims

        Protection Act.1

        Congress enacted the TVPA in 2000 to protect victims of human trafficking and

prosecute the perpetrators.2 Plaintiffs attempt to assert six separate counts under the TVPA;

however, the only statute Plaintiffs cite with a civil remedy is 18 U.S.C. § 1595 (a). Accordingly,


1
  COMPLAINT, Counts I - III Part 2, JrJrl94 - 225.
2
  U.S. DOJ, Human Trafficking, Key Legislation, https://wwv,,.iustice.gov/humantrafficking/key-
legislation#:~:text=The%20Trafficking%20Victims%20Protection%20Act%20of>/o202000%20(
TVPA)%2C%20Pub,ot%20slavery% 7Qdomestically%20and%70internationally.

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it appears Plaintiffs are attempting to bring claims under the civil remedy statute for purported

violations of the TVPA under §§ 1589 ( obtaining labor through force, abuse, harm, or threats of

force, abuse, or harm), 1590 (recruitment of individuals to work in violation of 1589), and 1592

(confiscation or removal of passports or immigration documents). Plaintiffs fail to set forth

sufficient factual allegations to suggest MBR committed any violation under the TVPA or

knowingly benefited as a result of any violation of the TVPA.

     1.   Plaintiffs Fail to Allege MBR Committed any Action in Violation of 18 U.S.C. § 1589.3

          18 U.S.C. § 1589 provides:

          (a) Whoever knowingly provides or obtains the labor or services of a person by
          any one of, or by any combination of, the following means--
          (1) by means of force, threats of force, physical restraint, or threats of physical
          restraint to that person or another person;
          (2) by means of serious harm or threats of serious hann to that person or another
          person;
          (3) by means of the abuse or threatened abuse oflaw or legal process; or
          (4) by means of any scheme, plan, or pattern intended to cause the person to
          believe that, if that person did not perform such labor or services, that person or
          another person would suffer serious harm or physical restraint,

          shall be punished as provided under subsection ( d).

Plaintiffs merely recite 18 U.S.C. § 1589(a) instead of alleging how the purported violations took

place.

          The Traffickers knowingly provided or obtained the labor or services of the
          Plaintiffs and other class members by means of actual and threatened force and
          physical restraint. The Traffickers knowingly provided and/or obtained the labor
          or services of the Plaintiffs and other class members by means of serious harm
          and/or threats of serious harm. The Traffickers knowingly provided and/or
          obtained the labor or services of the Plaintiffs and other class members by means
          of a scheme, plan, or pattern intended to cause the Plaintiffs and other class
          members to believe that, if they did not perform such labor or services, they
          would suffer serious harm or physical restraint.




3
    COMPLAINT, Count I, JrJr 194 - 201.

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See COMPLAINT, Jr 195-197. These are exactly the type of "formulaic recitations" prohibited by

the federal pleading standard. Twombly. 550 U.S. at 555.

          The only allegations regarding force are attributed to Defendant E. Duque. COMPLAINT,

JrJrl68; 172; 173; and 174("Defendant E. Duque repeatedly threatened, or caused Plaintiffs to be
threatened, that any worker who left employment would be reported to immigration; Defendant

E. Duque threatened and assaulted the plaintiffs and other class members after police came

attempting to find out who called the police; [Defendant E. Duque] told Plaintiffs and other class

members that he was going to 'deal' with the person who spoke with social services; Defendant

E. Duque drunkenly assaulted Plaintiff Ramon Rodriguez Mendez"). There are simply no

allegations of fact pointing to any use of force, abuse, or threat of abuse against MBR.

    u.    Plaintiffs fail to allege MBR committed any action in violation of 18 U.S.C. § 1590.4

          18 U.S.C. § 1590 (a) provides:

          Whoever knowingly recruits, harbors, transports, provides, or obtains by any
          means, any person for labor or services in violation of this chapter shall be fined
          under this title or imprisoned not more than 20 years, or both. If death results
          from the violation of this section, or if the violation includes kidnapping or an
          attempt to kidnap, aggravated sexual abuse, or the attempt to commit aggravated
          sexual abuse, or an attempt to kill, the defendant shall be fined under this title or
          imprisoned for any term of years or life, or both.

          There is no allegation MBR was involved in the recruitment, harboring, or transportation

of Plaintiffs. Plaintiffs allege Defendant E. Duque submitted both the 2020 and 2021 job orders

to the GADOL, not MBR. COMPLAINT, JrJr67, 82. The only signature on the 2020 and 2021 job

orders is E. Duque's. Exhibits 3-4 [Doc. 1-3; 1-4]. MBR does not even appear on the face of the

2020 job order. [Doc. 1-3].       Similarly, there is no allegation MBR recruited Plaintiffs. All

allegations related to recruitment are as to Defendant J. Duque. See COMPLAINT, Jrlr 98-110.



4
    COMPLAINT, Count II, JrJr 202 - 207.

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       Instead of setting forth any facts as to MBR, Plaintiffs attempt to skirt their responsibility

by baldly alleging Defendant J Duque acted as an "agent of the other Traffickers." Id. Again,

Plaintiffs fail to assert sufficient factual allegations to suggest an agency relationship existed

between Defendant J. Duque and MBR. An agency relationship can exist under either actual

authority or apparent authority. O.C.G.A. § 10-6-1 ("The relation of principal and agent arises

whenever one person, expressly or by implication, authorizes another to act of him or

subsequently ratifies the acts of another in his behalf'). "Actual authority 'requires: (1) the

principal to acknowledge that the agent will act for it; (2) the agent to manifest an acceptance of

the undertaking; and (3) control by the principal over the actions of the agent.'" Person v. Lyft,

Inc., 542 F. Supp. 3d 1342, 1351 (N.D. Ga. 2021) (quoting Franza v. Royal Caribbean Cruises,

Ltd., 772 F.3d 1225, 1236). Plaintiffs' Complaint is absolutely void of any allegations of fact

which would suggest Defendant J. Duque possessed actual authority from MBR to engage in the

alleged actions set forth in Paragraphs 98 - 110 of the Complaint. There is NO allegation MBR

acknowledged J. Duque would act on its behalf, NO allegation MBR accepted J. Duque's

actions, and NO allegation MBR had any control over the alleged actions of J. Duque. In fact,

Plaintiffs fail to allege MBR even knew J. Duque would recruit workers. Plaintiffs clearly fail to

allege J. Duque acted as MBR's agent under actual authority.

       Similarly, Plaintiffs fail to allege J. Duque acted on MBR's behalf under apparent

authority. "[ A ]pparent authority is not predicated on whatever a third party chooses to think an

agent has the right to do, or even upon what the agent says he can do, but must be based on acts

of the principal which have led the third party to believe reasonably the agent had such

authority." Dunn v. Venture Bldg. Group, Inc., 283 Ga. App. 500, 503 (2007) (emphasis added)

(internal citations omitted). The Northern District of Georgia has reiterated the fact that just



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because an individual holds himself out as having a position of authority does not create apparent

authority. See Zimmerman v. Roche, 1 :09-cv-0605-JEC, 2010 WL 11506545, at * 13 (N.D. Ga.

Sept. 20, 2010) (holding membership by an actor on a corporate board does not alone create

apparent authority absent action by the principal). Plaintiffs fail to allege MBR took any action

which would lead them to reasonably believe J. Duque had authority to act on their behalf.

    111.   Plaintiffs fail to allege MBR committed any action in violation of 18 U.S.C. § 1592.5

           18 U.S.C. § 1592 states:

           Whoever knowingly destroys, conceals, removes, confiscates, or possesses any
           actual or purported passport or other immigration document, or any other actual
           or purported government identification document of another person

           (1) In the course of a violation of section 1581, 1583, 1584, 1589, 1590, 1591, or
               1594(a);
           (2) With intent to violate section 1581, 1583, 1584, 1589, 1590, or 1591; or
           (3) to prevent or restrict or to attempt to prevent or restrict, without lawful
               authority, the person's liberty to move or travel, in order to maintain the labor
               or services of that person, when the person is or has been a victim of a severe
               form of trafficking in persons, as defined in section 103 of the Trafficking
               Victims Protection Act of 2000,

               shall be fined under this title or imprisoned for not more than 5 years, or both.

Again, Plaintiffs simply regurgitate the language of§ 1592 instead of actually alleging any action

taken by MBR in violation of 18 U.S.C. § 1592:

           The Traffickers knowingly concealed, removed, confiscated, and possessed the
           Plaintiffs' and other class members' passports and other immigration documents,
           and other actual or purported government identification documents in the course
           of violating 18 U.S.C. §§ 1589 and 1590. The Traffickers knowingly concealed,
           removed, confiscated, and possessed the Plaintiffs' and other class members'
           passports and other immigration documents, and other actual or purported
           government identification documents, to prevent or restrict or attempt to prevent
           or restrict, without lawful authority, Plaintiffs' and other class members' liberty to
           move or travel, in order to maintain their labor services.

COMPLAINT,      rr 218; 219.
5
    COMPLAINT, Count IV,    rr 21 7 - 221.
                                                     13
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          Notably, Plaintiffs specifically exclude MBR from allegations regarding the confiscation

of Plaintiffs' documents. COMPLAINT, Jr 158 ("The Contractors exploited the Plaintiffs and other

class members by holding their immigration and identification documents hostage to prevent

them from leaving or from contacting law enforcement") ( emphasis added). MBR is specifically

excluded from the definition of Contractors. Id. at Jr 54.

    lV.   Plaintiffs Fail to Allege MBR Committed Any Action in Violation of 18 U.S.C. § 1595. 6

          18 U.S.C. §1595(a) provides:

          An individual who is a victim of a violation of this chapter may bring a civil
          action against the perpetrator ( or whoever knowingly benefits, or attempts or
          conspires to benefit, financially or by receiving anything of value from
          participation in a venture which that person knew or should have known has
          engaged in an act in violation of this chapter) in an appropriate district court of
          the United States and may recover damages and reasonable attorneys fees.

As explained above, Plaintiff has failed to properly allege MBR perpetrated any violation of the

TVPA. Moreover, Plaintiffs have failed to allege MBR knowingly benefited from any violation

of the TVPA. Again, Plaintiffs merely recite § 1595 instead of alleging any actual facts

supporting knowledge. COMPLAINT, Jr223 ("Pursuant to 18 U.S.C. § 1595(a), the Traffickers

knowingly benefitted, or attempted or conspired to benefit, financially and/or by receiving things

of value, from participation in a venture they knew or should have known has engaged in

violations of 18 U.S.C. §§ 1589, 1590, and 1592").

          The Eleventh Circuit uses the Black's Law Dictionary definition of "knowledge" in

interpreting the TVPA. See Doe #1 v. Red Rooflnns, Inc., 21 F. 4th 714, 723-25(11th Cir. 2021)

("Knowledge is an awareness or understanding of a fact or circumstance; a state of mind in

which a person has no substantial doubt about the existence of a fact .... Constructive knowledge,

on the other hand, is that knowledge which one using reasonable care or diligence should have").


6
    COMPLAINT, Count III part 2, JrJr 222 - 225.
                                                   14
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In Red Roof Inn, the plaintiffs alleged hotel franchisors had knowledge of sex trafficking

because they sent inspectors to the hotels who would have seen signs of sex trafficking and

would have received reviews mentioning sex work occurring at the hotels However, the Eleventh

Circuit held "observing something is not the same as participating in it" and dismissed the

appeal. Id. at 727. In the instant case, Plaintiffs have not made any allegations suggesting MBR

even observed any abuse of Plaintiffs much less participated in it. Consequently, Plaintiffs have

failed to assert a beneficiary claim under§ 1595. 7

     C. This Court Should Dismiss Plaintiffs' Claims Under the Fair Labor Standards Act.8

        "To state a cause of action under the FLSA, an employee must first allege an employment

relationship." Blake v. Batmasian, 191 F. Supp. 3d 1370, 1375 (S.D. Fla. 2016) (citing Morgan

Family Dollar Stores, Inc., 551 f.3d 1233, 1277 n. 68 (11th Cir. 2008)). The "economic realty"

test controls when deciding whether a party is an employee. See Freeman v. Key Largo

Volunteer Fire and Rescue Dept., Inc., 494 F. Appx. 940, 942. In Villarreal v. Woodham, the

Eleventh Circuit established the economic reality test asking "whether the alleged employer (1)

had the power to hire and fire employees, (2) supervised and controlled employee work

schedules or conditions of employment, (3) determined the rate and method of payment, and ( 4)

maintained employment records." 113 F .3d 202, 205 (I l " Cir. 1997). In the context of alleged

joint employers courts should use the eight-factor test set out in Layton v. DHL Exp. (USA),

Inc., 686 F.3d 1772, 1778 -81 (11th Cir. 2012). These factors are:

        (1) the nature and degree or control of the workers; (2) the degree of supervision,
        direct or indirect, of the work; (3) the power to determine the pay rates or the
        methods of payment of the workers; (4) the right, directly or indirectly, to hire,


7
  Plaintiffs' Alternative Conspiracy Claims in Count III part 2 (Complaint, Jrlr 208 -216) are
nothing more than an attempt to create civil beneficiary claims under 18 U.S.C. § 1595(a).
Accordingly, these claims must also be dismissed.
8
  COMPLAINT, Count IVI, JrJr 226 - 23 7.

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          fire, or modify the employment conditions of the workers; (5) preparation of
          payroll and the payment of wages; (6) ownership of facilities where work
          occurred; (7) performance of a specialty job integral to the business; and (8)
          investment in equipment and facilities.

Id. at 1176. No one factor is controlling. Id. at 1177.

          Plaintiffs conclusively state "Defendant MBR Farms and the other Defendants jointly

employed the Plaintiffs and other class members during the 2021 blueberry harvest season."

COMPLAINT, Jr21. Plaintiffs make no factual allegations regarding the Layton factors. As such,

Plaintiffs' claims under the FLSA against MBR must be dismissed, as they have failed to

establish an employee relationship.

      D. This Court Should Dismiss Plaintiffs' Federal and State RICO Claims9

          To properly plead a case and set forth a claim under federal and state RICO statutes,

Plaintiffs must prove "both the existence of an 'enterprise' and the connected 'pattern of

racketeering activity."' Chancey v. State, 256 Ga. 415,417 (Ga. 1986) (quoting United States v.

Turkette, 452 U.S. 576, 583 (1981)). "A plaintiff can establish a RICO conspiracy claim in one

of two ways: (1) by showing that the defendant agreed to the overall objective of the conspiracy;

or (2) by showing that the defendant agreed to commit two predicate acts." Am. Dental Ass'n v.

Cigna Corp., 605 F.3d 1283, 1293 (11th Cir. 2010).

          The allegations in Plaintiffs Complaint do NOT support an inference of an agreement by

MBR to the overall objective of the conspiracy or an agreement by MBR to commit two

predicate acts. The first step in Iqbal's plausibility standard is to eliminate any allegations that

are merely legal conclusions. 556 U.S. at 678-79. Plaintiffs offer conclusory statements which

this court must ignore. For example, Plaintiffs conclusively state "Defendants Patricio and MBR

Farms conspired with Defendants E. Duque and J. Duque by pursuing the same criminal


9
    COMPLAINT, Counts VI and VII, JrJr 238 - 292.

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objectives and with intent to further the endeavors which, when completed, violated 18 U.S.C. §

1962(c)." COMPLAINT, W267. The Court must then look at Plaintiffs' remaining allegations to

determine whether Plaintiffs adequately pled a RICO claim. Plaintiffs have failed to plead any

action by MBR which would contribute to the alleged conspiracy. The only allegation of action

specifically taken by MBR is that it agreed to be listed as Grower on the 2021 job order.

COMPLAINT, W212 (b ). This action does not rise to the level of a predicate act. There is no

allegation MBR had any knowledge regarding the alleged treatment of Plaintiffs.

          Considering Plaintiffs have failed to set forth sufficient allegations of fact, its RICO

claims against MBR must be dismissed.

      E. This Court Should Dismiss Plaintiffs' Unjust Enrichment Claims at to MBR.10

          The Georgia Court of Appeals has held:

         A claim of unjust enrichment will lie if there is no legal contract and the party
         sought to be charged has been conferred a benefit by the party contending an
         unjust enrichment which the benefited party equitably ought to return or
         compensate for. The concept of unjust enrichment in law is premised upon the
         principle that a party cannot induce, accept, or encourage another to furnish or
         render something of value to such party and avoid payment for the value received.

Jones v. White, 311 Ga. App. 822, 827 - 828 (2011). In other words, "a claim for unjust

enrichment exists where a plaintiff asserts that the defendant induced or encouraged the plaintiff

to provide something of value to the defendant; that the plaintiff provided a benefit to the

defendant with the expectation that the defendant would be responsible for the cost thereof; and

that the defendant knew of the benefit being bestowed upon it by the plaintiff and either

affirmatively chose to accept the benefit or failed to reject it." Campbell v. Ailion, 338 Ga. App.

382,387 (2016).




10
     COMPLAINT, Count IX, WW 293 - 300.
                                                   17
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          Plaintiffs fail to assert sufficient facts to suggest Defendant MBR recruited Plaintiffs to

work for it. All recruitment allegations are as to Defendant J. Duque. Therefore, the Court must

dismiss Plaintiffs' unjust enrichment claims as to MBR.

      F. This Court Should Dismiss Plaintiffs' IIED Claims as to MBR.11

          "To succeed on a claim for intentional infliction of emotional distress in Georgia, a

plaintiff must show: (1) the defendant's conduct was extreme and outrageous; (2) the defendant

acted intentionally or recklessly; (3) the defendant's conduct caused emotional distress; and ( 4)

the resulting emotional distress was severe." Lightning v. Roadway Exp. Inc., 60 F.3d 1551,

1557 (11th Cir. 1995).

          Plaintiffs fail to identify any conduct by MBR which could be considered extreme and

outrageous. As such, the analysis stops there, and this Court must dismiss Plaintiffs' claims for

intentional infliction of emotional distress against MBR.

      G. Motion for Summary Judgment

          At minimum, this Court should dismiss Plaintiffs' claims against MBR as the Record

shows there is no genuine issue of fact as to any of Plaintiffs' claims. Filed with this Motion is

the Affidavit of Enrique Tovar. This Affidavit establishes MBR:

      1) Had no control over farm workers;

      2) Did not supervise the work of any of the Plaintiffs;

      3) Did not determine the amount or method of pay of the H-2A workers;

      4) Had no control over Plaintiffs' and other H-2A workers' living and housing conditions;

          and

      5) Never provided E. Tovar with authority to act as its agent.



11
     COMPLAINT, Count X, irir 301 -306.

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See Affidavit of Enrique Tovar.

      1.      The Record Shows there is No Genuine Issue of Fact as to Plaintiffs' TVP A Claims.

           The Affidavit of Enrique Tovar shows there is no genuine issue of material fact as to

Plaintiffs' TVPA claims. It is undisputed MBR had no control over Plaintiffs' employment

conditions. Moreover, it is undisputed MBR played no role in the recruitment of Plaintiffs.

Consequently, the Court must dismiss Plaintiffs' claims under the TVP A.

     11.      The Record Shows there is No Genuine Issue of Fact as to Plaintiffs' FLSA Claims.

           Similarly, the Affidavit shows there is no genuine issue of material fact as to Plaintiffs'

FLSA claims. There is no question MBR is NOT a joint employer under the FLSA. A review of

the eight Layton factors shows MBR cannot be deemed a joint employer. MBR had no control

over Plaintiffs or other H-2A workers. AFFIDAVIT, Jrl 0. MBR did not supervise Plaintiffs or other

H-2A workers. Id. at 11. MBR did not determine Plaintiffs or other H-2A workers' rate of pay.

Id. at 12. MBR could not hire or fire individual Plaintiffs or other H-2A workers. Id. at 15. MBR

did not have any involvement in Plaintiffs' or H-2A workers; payroll. Id. at 16. Plaintiffs' own

Complaint alleges they worked at fields other than those MBR owned. COMPLAINT, Jr 170

("Defendant E. Duque would rent out the Plaintiffs and other class members to do other work not

on the 2020 and 2021 Job Orders.").         Finally, the only equipment MBR invested in was the

purchase of buckets and portable toilets. AFFIDAVIT, Jrl 8. Since there is no question MBR was

not a joint employer, the Court must dismiss Plaintiffs' claims under the FLSA.

    111.      The Record Shows there is No Genuine Issue of Fact as to Plaintiffs' RICO Claims.

           The Record shows MBR had absolutely no involvement with the employment of

Plaintiffs and other H-2A workers. Accordingly, it cannot be a part of any alleged conspiracy

regarding Plaintiffs' employment. As such, this Court must dismiss Plaintiffs' RICO claims.



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      1v.      The Record Shows there 1s No Genuine Issue of Fact as to Plaintiffs' Unjust

               Enrichment Claims.

            The Affidavit shows Plaintiffs were employed by Defendant E. Duque. Defendant E.

Duque, not MBR, induced Plaintiffs to work. See generally, AFFIDAVIT. Absent actions by MBR,

Plaintiffs' claims for unjust enrichment against MBR cannot stand.

      v.       The Record Shows there is No Genuine Issue of Fact as to Plaintiffs' IIED Claims.

            The Affidavit demonstrates MBR had absolutely no involvement with the employment,

housing, transportation, or payment of Plaintiffs or other H-2A workers. See generally,

AFFIDAVIT. Considering MBR had no involvement with Plaintiffs or other H-2A workers,

Plaintiffs' claims for intentional infliction of emotional distress must be dismissed.

 V.            CONCLUSION

            Plaintiffs have attempted to force MBR into the instant case despite having no evidence

MBR committed any action or conspired to commit any action in violation of the TVP A or

FLSA. Plaintiffs' allegations against MBR are conclusory in nature and fail to set forth a single

action taken by MBR that would show it engaged in trafficking or was Plaintiffs' joint employer.

Plaintiffs' own shortcomings dictate this Court should dismiss Plaintiffs' claims against MBR.

At minimum, this Court must dismiss Plaintiffs' claims against MBR as the Record shows MBR

had no involvement with Plaintiffs' employment. There is a reason no one from MBR was

indicted in the criminal investigation into the alleged actions. It is because MBR is a complete

stranger to this case. Plaintiffs should not be able to keep MBR in this action with no evidence

against it.




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Respectfully submitted this 15th day of July, 2024.

                                                 COLEMAN TALLEY LLP


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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION


                                             )
CRISTHIAN ZUNIGA HERNANDEZ,
LUIS ALFONSO P ALMILLAS LOPEZ,
                                             )
and RAMON RODRIGUEZ MENDEZ,
                                             )

                                             )
      Plaintiffs,                            )        Civil No. CV 523-023
                                             )
v.                                           )
                                             )
MARIA LETICIA PATRICIO, ENRIQUE              )
DUQUE TOVAR, JOSE CARMEN
                                             )
DUQUE TOVAR, and MBR FARMS,
INC., a Georgia corporation,                 )
                                             )
      Defendants.                            )

                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have this day served a copy of the foregoing DEFENDANT
MBR FARMS, INC. 'S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO
DISMISS, AND IN THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT upon
interested parties via e-mail and by placing a copy thereof in the United States mail with
sufficient postage thereon and addressed as follows:

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This 15th day of July, 2024.
                                             COLEMAN TALLEY LLP

                                             Isl Mark A. Gilbert
                                             Mark A. Gilbert




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                         IN THE UNITED ST A TES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  WAYCROSS DIVISION


                                                      )
 CRISTHIAN ZUNIGA HERNANDEZ,
 LUIS ALFONSO P ALMILLAS LOPEZ,                       )
 and RAMON RODRIGUEZ MENDEZ,
                                                      )


                                                      )
       Plaintiffs,                                    )         Civil No. CV 523-023
                                                      )
 v.                                                   )
                                                      )
 MARIA LETICIA PATRICIO,                              )
 ENRIQUE DUQUE TOVAR, JOSE                            )
 CARMEN DUQUE TOVAR, and MBR
 FARMS, INC., a Georgia corporation,                  )
                                                      )
       Defendants.                                    )



      DEFENDANT MBR FARMS, INC.'S STATEMENT OF UNDISPUTED MATERIAL
                                   FACTS
          COMES NOW MBR Farms, Inc., Defendant in the above-styled case, and files its

Statement of Undisputed material Facts in support of its Motion for Summary Judgment as

follows:

                      STATEMENT OF UNDISPUTED MATERIAL FACTS

      1. Defendant E. Tovar, approached MBR to inquire if it would need any workers in the 2021

          growing season. AFFIDAVIT OF ENRIQUE DUQUE TOVAR ("Affidavit"), Jr 3.

      2. E. Tovar along with J. Tovar recruited Plaintiffs. Id. at Jr 4.

      3. MBR farms was not involved with the Plaintiffs' recruitment. Id.
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    4. MBR was not involved in filling out any documentation to bring Plaintiffs or other H-2A

         workers to the United States. Id. at Jrlr 5, 7.

    5. MBR did not manage, supervise, or direct Plaintiffs or other H-2A workers. Id. at Jr 10.

    6.    It was Enrique Tovar's responsibility, NOT MBR's to track the amount of each worker's

         work and to pay each worker. Id. at Jr 12.

    7. MBR had no control over the hiring, firing, and modifying the employment conditions of

         the workers. Id. at Jrl 5.

    8. MBR had no control or involvement over the worker's payroll and payment of wages. Id.

         at Jr 16.

   9. MBR was not made aware of the amount or amounts that Plaintiffs or other H-2A workers

         were paid for their work. Id.

    10. MBR had no control over Plaintiffs' and other H-2A workers' living and housing

         conditions. Id. at Jrl 7.

    11. The only investments MBR made into equipment for Plaintiffs and other H-2A workers

         were the purchase of buckets and portable toilets. Id. at Jrl8.

    12. MBR never provided Enrique Duque Tovar with authority for him to act as their agent. Id.

         at Jr19.

Respectfully submitted this 15th day of July, 2024.

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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION


                                                  )
 CRISTHIAN ZUNIGA HERNANDEZ,
 LUIS ALFONSO P ALMILLAS LOPEZ,
                                                  )
 and RAMON RODRIGUEZ MENDEZ,
                                                  )


                                                  )
      Plaintiffs,                                 )         Civil No. CV 523-023
                                                  )
 v.                                               )
                                                  )
 MARIA LETICIA PA TRI CI 0,                       )
 ENRIQUE DUQUE TOVAR, JOSE
                                                  )
 CARMEN DUQUE TOVAR, and MBR
 FARMS, INC., a Georgia corporation,              )
                                                  )
      Defendants.                                 )

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have this day served a copy of the foregoing DEFENDANT
MBR FARMS, INC. 'S STATEMENT OF UNDISPUTED MATERIAL FACTS upon
interested parties via e-mail and by placing a copy thereof in the United States mail with sufficient
postage thereon and addressed as follows:

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This 15th day of July, 2024.
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                                             Isl Mark A. Gilbert
                                             Mark A. Gilbert
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 (Waycross Division)
 CRISTHIAN ZUNIGA HERNANDEZ,
 LUIS ALFONSO P ALMILLAS LOPEZ, and
 RAMON RODRIGUEZ MENDEZ

 on behalf of themselves and all those similarly
 situated,

                    Representative Plaintiffs,
                                                        CASE NO. 5:23-cv-00023-LGW-BWC
 V.

 MARIA LETICIA PATRICIO,
 ENRIQUE DUQUE TOVAR,
 JOSE CARMEN DUQUE TOVAR, and
 MBR FARMS, INC., a Georgia corporation,

                    Defendants.

                        AFFIDAVIT OF ENRIQUE DUQUE TOVAR

 STA TE OF GEORGIA
 COUNTY OF LOWNDES

       PERSONALLY APPEARED before the undersigned officer, duly authorized by law to

administer oaths under the laws of the State of Georgia, Enrique Duque Tovar who, after being

duly sworn, deposes and states under oath as follows:

                                                   1.

       I am over the age of 18, and I am otherwise competent to testify to the matters and facts

stated herein. This Affidavit is given upon my personal knowledge of all matters addressed.

                                                   2.

       I provided services to farmers as an H-2A farm labor contractor in the state of Georgia in

2020 and in 2021. Those are the only two years that I have ever acted as a farm labor contractor.


                                                                            c. b

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                                                  3.

        Prior to the 2021 growing season, I did not have a business or working relationship with

 MBR Farms, Inc. ("MBR"). Toward the end of 2020, I approached Bobby Garrity ofMBR, who

 was an acquaintance of mine, to ask if he would need any help procuring workers to pick

 blueberries for his 2021 crop. Mr. Garrity told me that MBR would likely need up to 100 workers

 to pick its 2021 blueberry crop.

                                                  4.

        Based on my discussions with Mr. Garrity, I engaged my brother Jose Carmen Duque

 Tovar, who was then in Mexico, to identify and recruit workers living in Mexico to come to South

 Georgia under the H-2A non-immigrant visa program for the 2021 growing season.

                                                  5.

        I ultimately sought and obtained approval to bring a total of 84 H-2A workers to the United

 States from Mexico for the 2021 growing season.

                                                  6.

        I engaged Maria Leticia Patricio, who provided H-2A consulting services to farm labor

 contractors and farmers, to help me prepare and submit the necessary documentation to the Georgia

 Department of Labor, the United States Department of Labor, and the United States Citizenship

 and Immigration Services in order to obtain certifications, approvals, and visas for the workers. I

 am not experienced with the application process or documentation and relied on Maria Leticia

 Patricio's expertise and experience in filling out the required forms and submitting them to the

 various government agencies.

                                                  7.

        On or around January 14, 2021, with the assistance of Maria Leticia Patricio, I submitted


                                                                                          E-~
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 a job order, which was assigned Order Number H-300-21006-998169, to the Georgia Department

 of Labor.

                                                   8.

        MB R was listed as the "Grower" on this job order to the Georgia Department of Labor.

                                                   9.

        In my capacity as a farm labor contractor, in 2021, I provided workers to pick blueberries

 grown by MBR as part of an arms-length agreement between me and MBR. I was never a party to

 an agreement with MBR creating a joint venture, partnership, or principal-agent relationship.

                                                   10.

        In providing workers to pick blueberries at farms owned or leased by MBR, I was the farm

 labor contractor, and my role was to manage and supervise the H-2A workers. Each day, MBR

 would inform me which fields needed to be picked, and I would arrange for the workers to be

 transported to the identified field or fields. I, along with my brother and other persons employed

 by me, supervised and directed the workers. MBR did not have any degree of control over the H-

 2A workers on their farm,

                                                   11.

        At no time did MBR, either directly or indirectly, supervise the work of any of the Plaintiffs

 or other workers.

                                                   12.

        It was my responsibility, not MBR's, to track the amount of each worker's work and to pay

 each worker the correct amount. MBR had no power to determine the pay rates or the methods of

payment of the H-2A workers.


                                                                                              g:_t),


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                                                    13.

        During the work, Plaintiffs would pick blueberries on MBR's farm until they had a bucket

filled with blueberries. Upon turning in a full bucket of blueberries, each H-2A worker would

receive a chip or token. Because the buckets held a maximum of 6 lbs. of blueberries and because

the applicable piece rate entitled each worker to $0.50 per pound of blueberries picked, each chip

or token entitled the worker to $3.00 in pay.

                                                    14.

        MBR would pay me a lump sum directly according to the weight of the blueberries, but I

was responsible for paying the H-2A workers according to the number of chips they had collected

during each work day.

                                                    15.

        As the labor contractor, I was the sole party responsible for hiring, firing, and modifying

employment conditions of the workers. As such, MBR did not have the power, either directly or

indirectly, to hire, fire, or modify the employment conditions of the workers.

                                                    16.

        MBR did not prepare and was not involved with the payroll and payment of wages directly

to the workers. Consequently, MBR Farms was not made aware of the amount or amounts that

Plaintiffs or the other H2A workers were paid for their work.

                                                    17.

        MBR had no control over Plaintiffs' and other H-2A workers' living and housing conditions

and did not have the ability to relocate their living quarters.

                                                    18.

       To my recollection, the only investments made by MBR in the equipment and facilities




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 utilized by Plaintiffs and the other H-2A workers were (a) the purchase of buckets for the workers

 to place their bluebenies into after they were picked and (b) the procurement of portable toilets for

 use by the workers on MBR's farm.

                                                      19.

        At no time did MB R ever, explicitly or implicitly, provide authority for me to act on its

 behalf as an agent.

                                                     20.

        To the best of my knowledge, MB R is not a Defendant in the October 5, 2021 criminal

 indictment (Indictment No. CR521-0009) filed in this Court, which Plaintiffs alleged arose out of

 the sam e scheme that gave rise to this lawsuit.

        FUR THE R AFFIAN T SA YE TH NOT.


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                                                               ENRIQUE DUQUE Tov AR
 Subscribed and sworn to before me this
 l51day of July, 2024.




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